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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              8:16CR331
                Plaintiff,
     vs.
                                                         ORDER
BERNARDO WILLIAMS-
JAUREGUI,
                Defendant.


     IT IS ORDERED that:

     1.    The defendant’s unopposed Motion to Continue Sentencing (filing
           262) is granted.

     2.    Defendant Bernardo Williams-Jauregui’s sentencing is continued
           to September 20, 2018 at 3:00 p.m., before the undersigned
           United States District Judge, in Courtroom No. 1, Roman L.
           Hruska Federal Courthouse, 111 South 18th Plaza, Omaha,
           Nebraska. The defendant shall be present at the hearing.

     Dated this 20th day of August, 2018.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
